                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


FOODONICS INTERNATIONAL, INC., )
a Florida corporation,
                                  )
        Plaintiff,
                                  )
v.                                       Case No. 3:17-cv-1054-J-32JRK
                                  )
DINA KLEMPF SROCHI, as Trustee
of the LAURA JEAN KLEMPF          )
REVOCABLE TRUST, a Georgia trust,
                                  )
        Defendant.
                                  )

DINA KLEMPF SROCHI, as Trustee       )
of the LAURA JEAN KLEMPF
REVOCABLE TRUST, a Florida trust,    )
and DENNIS L. BLACKBURN, as
Assistant Trustee of the JEAN KLEMPF )
TRUST,
                                     )
        Counterclaim Plaintiffs,
                                     )
v.
                                     )
FOODONICS INTERNATIONAL, INC.,
a Florida corporation, and KEVIN     )
JACQUES KLEMPF,
                                     )
        Counterclaim Defendants.
                                     )


      APPENDIX TO THE TRUST’S (I) MOTION FOR SANCTIONS,
         (II) MOTION TO COMPEL FOODONICS TO PRODUCE
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                                  Certificate of Service

       I certify that on this 20th day of May, 2019, I electronically filed the foregoing

with the Clerk of Court through the Court’s CM/ECF electronic notification system,

which will send a Notice of Electronic Filing to all CM/ECF participants in this case.

I further certify that I mailed the foregoing document and the notice of electronic filing

by first-class mail to the following non-CM/ECF participants: none.


                                             SMITH HULSEY & BUSEY



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